Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 1 of 18 PageID #: 26
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 2 of 18 PageID #: 27
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 3 of 18 PageID #: 28
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 4 of 18 PageID #: 29
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 5 of 18 PageID #: 30
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 6 of 18 PageID #: 31
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 7 of 18 PageID #: 32
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 8 of 18 PageID #: 33
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 9 of 18 PageID #: 34
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 10 of 18 PageID #: 35
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 11 of 18 PageID #: 36
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 12 of 18 PageID #: 37
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 13 of 18 PageID #: 38
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 14 of 18 PageID #: 39
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 15 of 18 PageID #: 40
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 16 of 18 PageID #: 41
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 17 of 18 PageID #: 42
Case: 4:15-cr-00049-CDP Doc. #: 2 Filed: 02/05/15 Page: 18 of 18 PageID #: 43
